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                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS

                     CIVIL ACTION NO. 25-30041-RGS

                MASSACHUSETTS FAIR HOUSING CENTER;
               INTERMOUNTAIN FAIR HOUSING COUNCIL;
           SAN ANTONIO FAIR HOUSING COUNCIL, INC., d/b/a
             FAIR HOUSING COUNCIL OF SOUTH TEXAS; and
          HOUSING RESEARCH AND ADVOCACY CENTER, d/b/a
         FAIR HOUSING CENTER FOR RIGHTS & RESEARCH, INC.,
            on behalf of themselves and all those similarly situated

                                     v.

   THE DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT
          and SCOTT TURNER, in his official capacity as
          Secretary of Housing and Urban Development1

                   TEMPORARY RESTRAINING ORDER

                              March 26, 2025

STEARNS, D.J.

     Upon consideration of plaintiffs’ Emergency Motion for a Temporary

Restraining Order (and the Memorandum and Exhibits in support thereof),

defendants’ Opposition to that motion, plaintiffs’ Reply, and the March 25,

2025 hearing, and for the reasons discussed in depth in California v. U.S.



     1  Plaintiffs have withdrawn the portion of their motion seeking to
enjoin U.S. DOGE Service, U.S. DOGE Service Temporary Organization, and
Amy Gleason, in her official capacity as Acting Administrator of U.S. DOGE
Service and U.S. DOGE Service Temporary Organization. See Reply [Dkt #
29] at 1. The court accordingly omits these parties from the caption for the
purposes of this Order.
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Department of Education, 2025 WL 878431, at *1 (1st Cir. Mar. 21, 2025),

and California v. U.S. Department of Education, 2025 WL 760825, at *5 (D.

Mass. Mar. 10, 2025),2 the motion is ALLOWED. It is hereby ORDERED

that, until further order is issued by this court:

      1.    Defendants shall immediately restore plaintiffs to the pre-

existing status quo by reinstating any Fair Housing Initiatives Program

(FHIP) grants terminated by means of the February 27, 2025 Termination

Letter;

      2.    Defendants are temporarily enjoined from implementing, giving

effect to, maintaining, or reinstating under a different name the February 27,

2025 Termination Letter;

      3.    Defendants are temporarily enjoined from terminating any FHIP

grant, except to the extent the final agency action is consistent with the

Congressional authorization and appropriations, relevant federal statutes,

including the requirements of the Administrative Procedure Act, 5 U.S.C.

§§ 551 et seq., relevant implementing regulations, grant terms and

conditions, and this Order;


      2 Because (as explained at the March 25 hearing) the court sees no

meaningful way to distinguish this case from California v. U.S. Department
of Education, and because the court’s exercise of discretion is constrained by
the rulings of the First Circuit, the court adopts the First Circuit’s reasoning
in full here.
                                        2
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      4.    By close of business on March 27, 2025, defendants shall provide

notice of this Order to their employees and anyone acting in concert with

them, and to all recipients of the February 27, 2025 Termination Letter;

      5.    By close of business on March 28, 2025, defendants shall file a

status report with the court confirming their compliance with this Order;

      6.    This Order shall become effective immediately upon entry by this

court and shall remain in effect for 14 days; and

      7.    By close of business on March 28, 2025, the parties shall address

the need for any additional briefing as to the propriety of entering a

preliminary injunction in this case and, if applicable, jointly propose a

briefing schedule. The court will schedule a hearing on any request for a

preliminary injunction in due course.



                                    SO ORDERED.

                                    /s/ Richard G. Stearns
                                    UNITED STATES DISTRICT JUDGE




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